Case 2:02-cr-20183-.]DB Document 225 Filed 06/23/05 Page 1 of 3 Page|D 244

F|I.ED "}Y __ __ D.C.
lN THE UN|TED STATES DlSTR|CT COURT

FoR THE wEsTERN nls'rRlcT oF TENNESSEE 05 w ; ._
wEsTERN DlvlsloN 5 23 AH ll by

ROEEF%T F,. Di `ii`~`iG!_iO

* CLERK, U.S. EIST. CT.
UN|TED STATES OF AMER|CA, * W‘D_ OF _wa mEMPHIS
Plaintiff, *
v. * CR. No.: 02-20183
ERIC F|ELDS, *
Defendant. *

 

ORDER DISM|SS|NG lND|CTMENT

 

Upon |Vlotion of the United States and for good cause shown, |ndictment No. 02-
20183 is hereby D|SN||SSED, and the defendant is hereby remanded to the custody ofthe

She|by County Sheriff.

ordered this 2 §§ day of June, 2005.

 

H NO ABLE J. DAN|EL\BREEN
NITE STATES DlSTRlcT JUDGE

   
 

` '" ‘*' ' in 301:".})11311@9
wtered en ‘cne domet r\=.e\.

f‘ ~\ cumenth am

wm O` 55 andior 32(b`, F{’\CrF / O

"z-"\'…cz `

»'-,‘ `\U \

    
 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 225 in
case 2:02-CR-20183 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Eugene A. Laurenzi

GODWIN MORRIS LAURENZI & BLOON[FIELD, P.C.
50 N. Front St.

Ste. 800

1\/1emphis7 TN 38103

DeWun R. Settle

LAW OFFICE OF DEWUN R. SETTLE
100 N. Main Bldg.

Ste. 3001

1\/1emphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

1\/1emphis7 TN 38103--238

Robert C. Brooks

LAW OFFICE OF ROBERT C. BROOKS
P.O. Box 771558

1\/1emphis7 TN 38177

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Steffen G. Schreiner

LAW OFFICE OF STEFFEN G. SCHREINER
369 N. Main

1\/1emphis7 TN 38103

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

1\/1emphis7 TN 38128

Case 2:O2-cr-20183-.]DB Document 225 Filed 06/23/05 Page 3 of 3 Page|D 246

Financial Unit
FINANCIAL UNIT
167 N. Main St.

Ste. 242

1\/1emphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

